                Case 7:18-cv-00187 Document 1 Filed 10/29/18 Page 1 of 7



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                               MIDLAND-ODESSA DIVISION

  JAQUELINE LOPEZ,                                     §                  CAUSE NO.
                                                       §
                                PLAINTIFF,             §
                                                       §
  V.                                                   §                 7:18-cv-00187
                                                       §
  AJUUA’S MEXICAN RESTAURANT, INC.                     §
                                                       §
                              DEFENDANT.               §             JURY DEMANDED


                                   PLAINTIFF’S COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

           Plaintiff JAQUELINE LOPEZ (“Plaintiff”) files this Complaint and would respectfully

show the Court as follows:

                                              PARTIES

           1.    Plaintiff is an individual who currently resides in Midland County, Texas.

           2.    Defendant AJUUA’S MEXICAN RESTAURANT, INC. (“Defendant”), is a

Texas Corporation with its principal place of business in Ector County, Texas. Defendant may be

served with process through its registered agent, Griselda Ramirez, 2120 Andrews Hwy., Odessa,

TX 79761.

                                   JURISDICTION AND VENUE

           3.    Pursuant to 28 U.S.C. §§ 1331 and 1343, this Court has federal question jurisdiction

because the action arises under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-

5(f)(3).




PLAINTIFF’S COMPLAINT                                                                         PAGE 1
             Case 7:18-cv-00187 Document 1 Filed 10/29/18 Page 2 of 7



       4.      Venue is proper in the U.S. District Court for the Western District of Texas,

Midland-Odessa Division pursuant to 42 U.S.C. § 1391(b) because the unlawful practices alleged

below were committed therein.

                   EXHAUSTION OF ADMINISTRATIVE PROCEDURES

       5.      Plaintiff timely filed a charge of discrimination with the Equal Employment

Opportunity Commission (EEOC). Plaintiff filed this suit within ninety (90) days of receiving a

Notice of Right to Sue from the EEOC, a true and correct copy of which is attached hereto as

Exhibit A.

                                  CONDITIONS PRECEDENT

       6.      All conditions precedent have been performed or have occurred.

                                              FACTS

                                     Employer Background

       7.      Defendant is a restaurant in Odessa, Ector County, Texas.

       8.      Plaintiff worked for Defendant for approximately nine years, was gone for two to

three years, and returned to work for about four years. She was eventually promoted to Manager

of the day shift (AM Manager) of the restaurant.

       9.      Julian Rubio became Defendant’s CEO on or about January 1, 2014. It is Plaintiff’s

understanding that Mr. Rubio purchased some of all of the stock in the restaurant, but that Griselda

and Ezekiel Ramirez continue to receive a percentage of the sales of the restaurant.

       10.     Plaintiff is not privy to the details of the relationship or transaction between Mr.

Rubio and Mr. and Mrs. Ramirez.

       11.     Plaintiff worked part time in the mornings during her entire employment with

Defendant so that she could spend time with her children in the evening.




PLAINTIFF’S COMPLAINT                                                                       PAGE 2
             Case 7:18-cv-00187 Document 1 Filed 10/29/18 Page 3 of 7



                                        Sexual Harassment

       12.     Plaintiff filed for divorce in October 2016. Julian Rubio began taking an interest

in Plaintiff. He flirted with her regularly and told her that he wanted to be with her. He gave her

furniture and money that was supposed to help her make a home for her children now that she was

a single mom. Plaintiff accepted the gifts only as a loan with the intent to pay them back.

       13.     Julian Rubio invited Plaintiff to Ruidoso with him and told her she needed to eat

marijuana brownies to relax her and reduce her stress. Julian Rubio also invited Plaintiff out to

dinner and to a Dallas Cowboys football game.

       14.     Julian Rubio tried to take advantage of Plaintiff when she was in a vulnerable

emotional and financial state due to the pending divorce.

       15.     In a telephone conversation, Julian Rubio told Plaintiff, “Everyone thinks we are

fooling around, we might as well do it,” or words to that effect.

       16.     Plaintiff declined to go out with Julian Rubio or to sleep with him. Once he began

to understand that Plaintiff was not interested in him, he began to treat her differently.

       17.     Julian Rubio presented her with a schedule change and a non-compete agreement.

He told her that if she did not accept both, she was terminated. The schedule change would not

allow Plaintiff to be home when her children were out of school and jeopardized Plaintiff’s ability

to maintain custody of her children. Losing her job also affected Plaintiff’s attempts to keep

custody of her children.

                           COUNT ONE-TITLE VII-SEX HARASSMENT

       18.     Plaintiff incorporates by reference and re-alleges all of the foregoing and further

alleges as follows:




PLAINTIFF’S COMPLAINT                                                                         PAGE 3
              Case 7:18-cv-00187 Document 1 Filed 10/29/18 Page 4 of 7



       19.     Plaintiff is an employee within the meaning of Title VII and belongs to a class

protected under the statute, namely she is female. See 42 U.S.C. §2000e(f).

       20.     Defendant is an employer within the meaning of Title VII.             See 42 U.S.C.

§2000e(b).

       21.     Plaintiff was subjected to quid pro quo sexual harassment for which Defendant is

strictly liable. CEO Julian Rubio conditioned the terms and conditions of Plaintiff’s employment

on an exchange of sexual favors.

       22.     Alternatively, Plaintiff was subjected to hostile work environment harassment

based on her sex. Defendant knew or should have known about the harassment and failed to

prevent and/or correct it.

       23.     Alternatively, Defendant is liable for Plaintiff’s constructive discharge because a

reasonable person under the same or similar circumstance would have resigned.

       24.     As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered

damages. Defendant’s conduct was willful and justifies an award of punitive damages.

       25.     To the extent that Defendant contends that Plaintiff was fired for a legitimate non-

discriminatory reason, said reason is a mere pretext for discrimination. Alternatively, the reason(s)

given for Plaintiff’s termination, while true are only some of the reasons, and Plaintiff’s sex was a

motivating factor in the decision to terminate her employment. In other words, Defendant had

mixed motives for Plaintiff’s termination.

                                             DAMAGES

       26.     Plaintiff was discharged from employment by Defendant.            Although she has

diligently sought other employment, she has been unable to find a job at comparable pay. In

addition, Plaintiff has incurred expenses in seeking other employment. Plaintiff suffered damage




PLAINTIFF’S COMPLAINT                                                                        PAGE 4
                Case 7:18-cv-00187 Document 1 Filed 10/29/18 Page 5 of 7



to her pension or retirement benefits. Plaintiff seeks compensation for all back pay and lost wages

and benefits, including loss of Social Security benefits. Reinstatement to Plaintiff’s previous

position is impractical and unworkable. Therefore, Plaintiff seeks an award of front pay and future

lost wages and benefits. Plaintiff suffered mental anguish and emotional distress.

                                         ATTORNEY’S FEES

        27.      Plaintiff was forced to engage counsel to protect her rights. Plaintiff is entitled to

an award of reasonable and necessary attorneys’ fees and costs (including, but not limited to, an

award of reasonable expert witness fees), both trial and appellate, under Title VII, 42 U.S.C.

§2000e-5(k).

                                              INTEREST

        28.      Plaintiff is entitled to prejudgment and post judgment interest at the highest lawful

rate.

                                       JURY TRIAL DEMAND

        29.      Plaintiff demands a jury trial.

                                               PRAYER

        WHEREFORE, Plaintiff respectfully prays for judgment against Defendant for the

following:

        a. Compensatory and punitive damages;

        b. Backpay and front pay;

        c. Attorneys’ fees and costs;

        d. Prejudgment and post-judgment interest;

        e. Such other and further relief, at law or in equity, to which Plaintiff may show herself

              justly and lawfully entitled.




PLAINTIFF’S COMPLAINT                                                                          PAGE 5
           Case 7:18-cv-00187 Document 1 Filed 10/29/18 Page 6 of 7



                                         Respectfully submitted,

                                         By: /s/ Holly B. Williams_____________
                                                Holly B. Williams
                                                Texas Bar No. 00788674

                                         WILLIAMS LAW FIRM, P. C.
                                         1209 W Texas Ave
                                         Midland, TX 79701-6173
                                         432-682-7800
                                         432-682-1112 (fax)
                                         holly@williamslawpc.com

                                         ATTORNEY FOR PLAINTIFF
                                         JAQUELINE LOPEZ




PLAINTIFF’S COMPLAINT                                                     PAGE 6
Case 7:18-cv-00187 Document 1 Filed 10/29/18 Page 7 of 7




                                                           EXHIBIT A
